Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 1 of 27




                     PX3032
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 2 of 27




                     PX3033
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 3 of 27




                     PX3034
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 4 of 27




                     PX3035
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 5 of 27




                     PX3036
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 6 of 27




                     PX3037
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 7 of 27




                     PX3038
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 8 of 27




                     PX3039
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 348-17   Filed 05/25/24   Page 9 of 27




                     PX3040
                     Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 10 of 27




                         PX3041
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 11 of 27




                         PX3042
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 12 of 27




                         PX3043
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 13 of 27




                         PX3044
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 14 of 27




                         PX3045
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 15 of 27




                         PX3050
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 16 of 27




                         PX3051
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 17 of 27




                         PX3052
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 18 of 27




                         PX3055
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 19 of 27




                         PX3059
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 20 of 27




                         PX3060
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 21 of 27




                         PX3061
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 22 of 27




                         PX3062
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 23 of 27




                         PX3063
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 24 of 27




                         PX3064
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 25 of 27




                         PX3066
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 26 of 27




                         PX3067
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 348-17   Filed 05/25/24   Page 27 of 27




                         PX3069
                         Filed Under Seal
